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Debtor(s): Katrina Koonce Jurilli
United States Bankruptcy Court for the Middle District of Florida
Case No: 8:19-bk-05722-CPM

Official Form 427 (12/15)
Cover Sheet for Reaffirmation Agreement

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it
out completely, attach it to the reaffirmation agreement and file the documents within the
time set under Bankruptcy Rule 4008.

Part 1: Explain the Repayment Terms of the Reaffirmation Agreement.
1, Who is the Creditor: Suncoast Credit Union.

2. How much is the debt?
$17,087.16 On the date of Bankruptcy
$17,087.16 to be paid under reaffirmation agreement.
Repayment terms (if fixed rate): $349.95 per month for 53 months

 

 

3. Annual percentage rate of interest: 2.50 % prior to bankruptcy
2.50% _under reaffirmation agreement ( X Fixed Adjustable)

4, Does collateral secure the debt? If yes.
Description: 2014 MERCEDES-BENZ C CLASS VIN#

WDDGF4HBIEG236855
Current Market Value: $17,075.00

 

 

5. Does the creditor assert that the debt is nondischargeable? __—-Yes___ X_No
(If yes, attach a declaration setting forth the nature of the debt and basis forthe __

contention that the debt is undischargeable.) *check yes only in issue of Reaffirmation
Agreement in avoidance of an Adversary Proceeding.

6. Using information from Schedule I: Your income (Official Form 1061) and
Schedule J: Your Expenses (Official Form 106)), fill in the amounts.

Income/Expense reported on Schedule I & J Income/Expenses as stated on
Reaffirmation Agreement.

6a. Total monthly income $3,891.67 6e. Monthly income $

from Schedule I, line 12 from all sources after payroll deductions
6b. Total monthly expenses $3,842.89 6. Monthly expenses $ 3 842 89
From Schedule J, line 22c
6c. Total monthly payments on debts 6g. Total monthly payment on debts
Reaffirmed not listed on Schedule J Reaffirmed not included in monthly

$ OQ expenses $ Q

 
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6.d. Scheduled net monthly income: $48 78 6h. Net monthly income $

Subtract lines 6b and 6c from 6a. If the subtract sum of lines 6f and 6g from 6¢
If the total is less than 0, put the number If the total is less than 0, put the number
in brackets. in brackets.

7. Are the income amounts on lines 6a and 6e different? No. A . If yes, explain

with why they are different and complete line 10.

 

 

8. Are the income amounts on lines 6b and 6f different? No. A . If yes, explain
with why they are different and complete line 10.

 

 

9. Is the net monthly income in line 6h less than 0? No. wv. If yes, A presumption
of hardship arises (unless the creditor is a credit union). Explain how the debtor will
make monthly payments on the reaffirmed debt and pay other living expenses.

Complete line 10.

 

 

10. Debtor’s certification about line 7-9. If any answer on lines 7-0 is Yes, the debtor
must sign here. If all the answers on lines 7-9 are No, go to line 11.

I hereby certify that each explanation on lines 7-9 are true and correct.

 

 

KATRINA K. JURILLI Signature of Joint Debtor

11. _ Did an attorney represent the debtor in negotiating the reaffirmation agreement?

 

No wv Yes. If yes did attorney execute a seclaryion or an
Affidavit to support the reaffirmation agreement. No Yes

Part 2: Sign Here
I certify that the attached agreement is true and correct copy of the reaffirmation
agreement between the parties identified on this cover sheet for reaffirmation agreement.

**Handwritten items are inp ebtor or Anal *

Dione Neal
Bankruptcy Supervisor
Suncoast Credit Union
62L010071749

 
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B2400A (Form 2400A) (12/15)

 

Presumption of Undue Hardship
WINo Presumption of Undue Hardship
See Debtor’s Statement in Support of Reaffirmation,
Part II below, to determine which box to check

 

 

 

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

CHAPTER: 7
CASE NO: 8:19-bk-05722-CPM

KATRINA K., JURILLI
Debtor

REAFFIRMATION DOCUMENTS
Name of Creditor: Suncoast Credit Union
THIS IS A CREDIT UNION

REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions and definitions found
in Part V of this Reaffirmation Documents packet.

A. Brief description of the original agreement being reaffirmed: AUTO LOAN

B. AMOUNT REAFFIRMED: $ 17,087.16

 

The Amount Reaffirmed is the entire amount that you are agrecing to pay. This
may include unpaid principal, interest and fees and costs (if any) arising on or
before the date you sign this Reaffirmation Agreement.

See the definition of “Amount Reaffirmed” in Part V. C below.
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C. ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 2.50

See the definition of “Annual Percentage Rate” in Part V. C below.
This is a (check one) [X] Fixed rate (_] Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual
Percentage Rate disclosed here.

D. Reaffirmation Agreement Repayment Terms (check and complete one):
[X] $ 349.95 per month for 53 months starting on 06/28/2019

[_] Describe repayment terms, including whether future payments amount(s) may be
different from the initial payment amount:

 

E. Describe the collateral, if any, securing the debt:

Description: 2014 MERCEDES-BENZ C CLASS - VIN #

WDDGF4HB9EG236855
Current Market Value $ 17,075.00

F. Did the debt that is being reaffirmed arise from the purchase of the collateral
described above?

[<lYes. What was the purchase price for the collateral? $ 22,508.10
[_] No. What was the amount of the original loan? $

G. Detail the changes made by this Reaffirmation Agreement to the most recent credit
terms on the reaffirmed debt and any related agreement:

Terms as of the Date of Bankmuptcy Terms After Reaffirmation

 

 

 

Balance due (including Fees & $_17,087.16 $17,087.16
costs)

Annual Percentage Rate 2.50% 2.50%
Monthly Payment $349.95 $349.95

[_] Check this box if the creditor is agreeing to provide you with additional future credit in
connection with this Reaffirmation Agreement. Describe the Credit Limit, the Annual Percentage
Rate that applies to future credit and any other terms on future purchases and advances using such

credit.
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Il. DEBTOR’S STATEMENT IN SUPPORT OF

REAFFIRMATION AGREEMENT
A. Were you represented by an attomey during the course of negotiating this agreement?

Check one. Aves 1No
B. Is the creditor a credit union?

Check one. [K]Yes [[] No

C. If your answer to Either question A. or B. above is “NO” complete a. and b. below.
a. Your present monthly income and expenses are:

i. Monthly income from all sources after payroll deductions
(take-home pay plus any other income) $

ii. Monthly expenses (including all reaffirmed debts except
this one) $

ui. Amount available to pay this reaffirmed debt (subtract a. from b.) $
iv. Amount of monthly payment required for this reaffirmed debt $

If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you have available
to pay this reaffirmed debt (line c.), you must check the box at the top of page one that says

“Presumption of Undue Hardship.” Otherwise, you must check the box at the top of page one that says
“No Presumption of Undue Hardship.”

b. I believe this Reaffirmation Agreement will not impose an undue hardship on my dependents or on
me because:

Check one of the two statements below, if applicable:

LD) You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

LD You can afford to make the payments on the reaffirmed debt even though your monthly income

is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

 

 

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

believe this Reaffirmation Agreement is in my financial interest and I can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says ““No Presumption of Undue Hardship.”

 
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Il. CERTIFICATION BY DEBTOR(S) AND SIGNATURE OF PARTIES
1 (We) hereby certify that:
a. I (We) agree to reaffirm the debt described above.
b. Before signing this Reaffirmation Agreement, I (we) read the terms disclosed in this
Reaffirmation Agreement (Part I) and the Disclosure Statement, Instructions and
Definitions included in Part V below:

c. The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is
true and complete:

d. Iam (We are) entering into this agreement voluntarily and fully informed of my (our)
rights and responsibilities; and

e. I (we) have received a copy of this completed and signed Reaffirmation Documents

packet.
both Ry sign.):

KATRINA K. JURILLI

SIGNATURE(S): (If a joint Reaffirmation A:

Date_June 19, 2019 Sign y

Date Signature

  
  

 

Reaffirmation Agreement Terms Accepted by Creditor:

Creditor: Suncoast Credit Union

Dione Neal
Bankruptcy Supervisor

  

 

 

Signature

IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement

Thereby certify that: (1) this agreement represents a fully informed and voluntary agreement by
the debtor: (2) this agreement does not impose an undue hardship on the debtor or any dependent
of the debtor: and (3) I have fully advised the debtor of the legal effect and consequences of this
agreement and any default under this agreement.

(_] A presumption of undue hardship has been established with respect to this agreement. In my
opinion, however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page 1 and the creditor is not
a Credit Union

 

Date 06/19/2019 Signature of Debtor’s Attomey /s/ Keyin S_ Garris
Print Name of Debtor’s Attorney Kevin Sylvester Garris
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6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attomey during the negotiation of your Reaffirmation
Agreement

i. If the creditor is not a Credit Union, your Reaffirmation Agreement becomes
effective when it is filed with the court unless the reaffirmation is presumed to be an
undue hardship. If the Reaffirmation Agreement is presumed to be an undue hardship,
the court must review it and may set a hearing to determine whether you have rebutted
the presumption of undue hardship.

it. If the creditor is a Credit Union, your Reaffirmation Agreement becomes effective
when it is filed with the court.

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To
have the court approve your agreement, you must file a motion. See Instruction 5, below. The
court will notify you and the creditor of the hearing on your Reaffirmation Agreement. You must
attend this hearing, at which time the judge will review your Reaffirmation Agreement. If the
judge decides that the Reaffirmation Agreement is in your best interest, the agreement will be
approved and will become effective. However, if your Reaffirmation Agreement is for a
consumer debt secured by a mortgage, deed of trust, security deed, or other lien on your real
property, like your home, you do not need to file a motion or get court approval of your
Reaffirmation Agreement.

7. What if you have questions about what a creditor can do? If you have questions about
reaffirming a debt or what the law requires, consult with the attomey who helped you negotiate
this agreement. If you do not have an attomey helping you, you may ask the judge to explain the
effect of this agreement to you at the hearing to approve the Reaffirmation Agreement. When this
disclosure refers to what a creditor “may” do, it is not giving any creditor permission to do
anything. The word “may” is used to tell you what might occur if the law permits the creditor to
take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider the decision to reaffirm. If you want to
reaffirm, review and complete the information contained in the Reaffirmation Agreement (Part I
above). If your case is a joint case, both spouses must sign the agreement if both are reaffirming
the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be
sure that you can afford to make the payments that you are agreeing to make and that you have
received a copy of the Disclosure Statement and a completed and signed Reaffirmation
Agreement.

3. Ifyou were represented by an attomey during the negotiation of your Reaffirmation
Agreement, your attorney must sign and date the Certification By Debtor’s Attomey section (Part
IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents
packet and a completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 27).
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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

IN RE

Chapter: 7

Case No: 8:19-bk-05722-CPM
KATRINA K. JURILLI
Debtor

MOTION FOR APPROVAL OF REAFFIRMATION AGREEMENT
I (we), the debtor(s), affirm the following to be true and correct:
I am not represented by an attorney in connection with this Reaffirmation Agreement.

I believe this Reaffirmation Agreement is in my best interest based on the income
and expenses I have disclosed in my Statement in Support of Reaffirmation Agreement,

and because:
(provide any additional relevant reasons the court should consider):

Therefore, I ask the court for an order approving this Reaffirmation Agreement
under the following provisions: (check all applicable boxes):

C111 US.C. § 524(c)(6) (debtor is not represented by an attorney during the
course of the negotiation of the Reaffirmation Agreement)

[111 U.S.C. § 524¢m) (presumption of undue hardship has arisen because
monthly expenses exceed monthly income)

Signed:

 

KATRINA K. JURILLI

Date:
